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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION

EMOJI COMPANY GmbH,                                       )
                                                          )   Case No. 22-cv-6862
                 Plaintiff,                               )
                                                          )
                                                          )    Judge Steven C. Seeger
v.                                                        )
                                                          )
THE INDIVIDUALS, CORPORATIONS,                            )
LIMITED LIABILITY COMPANIES,                              )
PARTNERSHIPS AND UNINCORPORATED                           )
ASSOCIATIONS IDENTIFIED                                   )
ON SCHEDULE A HERETO,                                     )
                                                          )
                 Defendants.                              )

     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE AS TO
                             CERTAIN DEFENDANTS

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff EMOJI COMPANY
GmbH hereby dismisses without prejudice all causes of action in the complaint as to the Defendants
identified below and in Schedule A. No motions are pending relative to these Defendants. Each party
shall bear its own attorney's fees and costs.
        No.      Defendant
        7        SHEN ZHEN SHI HUA MEI RONG JIA JU YONG PIN YOU XIAN GONG SI
        9        shenzhenshi yuan huoxing wangluokeji youxiangongsi
        11       shenzhenSHIhuaGuErdianZishangWuyouxianGongSI
        13       shenzhenshimaizigongyipinyouxiangongsi
        14       shenzhenshiquanxinkaikejiyouxiangongsi
        16       SHENzhenshiYaoPingJiaDianziyouxianGONGsi
        138      guangzhougongyuanminmaoyiyouxiangongsi
        140      Guangzhoushisenpamaoyiyouxiangongsi
        146      Hello Store
        176      Parezy

        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.
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                                Respectfully submitted,
Dated: January 02, 2024         By:    s/Michael A. Hierl             _
                                       Michael A. Hierl (Bar No. 3128021)
                                       William B. Kalbac (Bar No. 6301771)
                                       Robert P. McMurray (Bar No. 6324332)
                                       Hughes Socol Piers Resnick & Dym, Ltd.
                                       Three First National Plaza
                                       70 W. Madison Street, Suite 4000
                                       Chicago, Illinois 60602
                                       (312) 580-0100 Telephone
                                       mhierl@hsplegal.com

                                       Attorneys for Plaintiff
                                       EMOJI COMPANY GmbH
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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal Without Prejudice was filed electronically with the Clerk of the Court and served on
all counsel of record and interested parties via the CM/ECF system on January 02, 2024.



                                                           s/Michael A. Hierl
